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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
UNITED STATES OF AMERICA
SEALED

Vv. INDICTMENT
SADIA ALHASSAN 4A 24 cv JO-Mw/

a/k/a “Cindy”

a/k/a “Ceebby”
SHAWN WILLIAM SMITH,

and

MOHAMMED SAAMINU ZUBERU
a/k/a “Samiu”
a/k/a “Sammy”

THE GRAND JURY CHARGES:
COUNT ONE
A. THE CHARGE
Between on or about March 1, 2019, and on or about March 31, 2022, in the
Northern District of Florida and elsewhere, the defendants,
SADIA ALHASSAN,
a/k/a “Cindy,”
a/k/a “Ceebby,”
SHAWN WILLIAM SMITH,
and
MOHAMMED SAAMINU ZUBERU,
a/k/a “Samiu,”
a/k/a “Sammy,”
did knowingly and willfully combine, conspire, confederate, and agree with each

other and other persons to devise, and intend to devise, a scheme to defraud and for

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obtaining money and property by means of material false and fraudulent pretenses,
representations, and promises, and for the purpose of executing such scheme, to
cause mail to be sent and delivered by the United States Postal Service and by a
private and commercial interstate carrier, and to cause wire communications to be
transmitted in interstate commerce for the purpose of executing such scheme, in
violation of Title 18, United States Code, Sections 1341 and 1343.

B. MANNER AND MEANS

The manner and means by which this conspiracy was committed included
the following:

1. Defendants SADIA ALHASSAN and SHAWN WILLIAM SMITH
jointly and independently operated multiple registered and unregistered businesses,
including “I Am Cindy Enterprise,” “Gundaa Enterprise,” “Ocean Shippers,”
“Revolve Enterprise,” and “Kutalim Global Holdings,” (collectively hereinafter
“The Businesses”) or a variation of these business names.

2. Co-conspirators located in Ghana and elsewhere conducted scams by
using telephone calls and electronic messages (such as email, text messaging, and
online platforms, including dating websites) to deceive victims living throughout
the United States, many of whom were vulnerable older men and women who

often lived alone.
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3. Once the co-conspirators had gained the trust of the victims, they used
false pretenses, such as the promise of being paid back or receiving back a portion
of an investment, to ask for money from the victims. They provided the victims
with instructions on how to wire or mail the money, including recipient names,
addresses, financial institutions, and account numbers. As a result of the fraud, the
victims mailed cash and monetary instruments to defendants SADIA ALHASSAN
and SHAWN WILLIAM SMITH, and transferred, deposited, and wired money
into bank accounts that turned out to be controlled by ALHASSAN and SMITH.

4. Defendants SADIA ALHASSAN and SHAWN WILLIAM SMITH
opened and used mailboxes at one or more The UPS Stores located in Tallahassee,
Florida. These mailboxes were used to receive United States Postal Service
(hereinafter “USPS”) Priority Mail, USPS Priority Mail Express, United Parcel
Service (hereinafter “UPS”), Federal Express (hereinafter “FedEx”), and DHL
packages that contained U.S. currency, checks, and money orders from victims
after they fell for the scams.

5. Defendant MOHAMMED SAAMINU ZUBERU communicated
with defendants SADIA ALHASSAN and SHAWN WILLIAM SMITH through
text messaging and communication applications, including WhatsApp, about the

status of packages which contained proceeds of the scams.
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6. Defendants SADIA ALHASSAN and SHAWN WILLIAM SMITH
received victim monies by various means, including:

a. Wire transfers and deposits of cash and monetary instruments
into bank accounts held by defendants SADIA ALHASSAN and SHAWN
WILLIAM SMITH, and in the names of The Businesses;

b. Money orders, personal checks, and bank checks mailed and
sent by private or commercial interstate carrier to the defendants SADIA
ALHASSAN and SHAWN WILLIAM SMITH at one or more UPS store
mailboxes in their names and in the names of The Businesses, and to their
residence in Tallahassee, Florida;

c. Cash deposits directly into accounts held by SADIA
ALHASSAN and SHAWN WILLIAM SMITH and in the names of The
Businesses, and cash mailed and sent by private or commercial interstate
carrier to the ALHASSAN and SMITH at one or more UPS store mailboxes
in their names and in the names of The Businesses, and to their residence in
Tallahassee, Florida.

7. Defendants SADIA ALHASSAN and SHAWN WILLIAM SMITH
converted victims’ money to their own use, including paying for domestic and

international vacations, dining at restaurants, and expenses of daily living.
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8. Additionally, defendants SADIA ALHASSAN and SHAWN
WILLIAM SMITH sent victim money to bank accounts held and controlled by
defendant MOHAMMED SAAMINU ZUBERU and other co-conspirators. They
did this by converting victims’ cash into money orders, and converting money
orders and checks sent by the victims into cash, which was then used to purchase
new money orders. These new money orders were then deposited into bank
accounts in the names of defendant ZUBERU and others. Defendants
ALHASSAN and SMITH also transferred and wired victims’ funds to defendant
ZUBERU and other unknown participants of the conspiracy in Ghana and
elsewhere. This was all done in order to perpetuate the criminal conspiracy.

9. After receiving proceeds of the scams into their bank accounts,
defendant MOHAMMED SAAMINU ZUBERU and other unknown participants
in the conspiracy withdrew the money using automated teller machines (“ATMs”)
located in the country of Ghana and elsewhere, and purchased and reloaded stored
value cards (also known as prepaid cards). ZUBERU and others also used the
proceeds of the scams for their own purposes and not for the purposes claimed by
the perpetrators of the scams when communicating with victims. Thus, the co-
conspirators used the victims’ money to continue the fraudulent scheme and to

enrich themselves.
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10. By this conduct, defendants SADIA ALHASSAN, SHAWN
WILLIAM SMITH, and MOHAMMED SAAMINU ZUBERU, and others,
fraudulently received more than $300,000 to which they were not entitled.

All in violation of Title 18, United States Code, Section 1349.

COUNT TWO

Between on or about March 1, 2019, and on or about March 31, 2022, in the

Northern District of Florida and elsewhere, the defendants,
SADIA ALHASSAN,
a/k/a “Cindy,”
a/k/a “Ceebby,”
SHAWN WILLIAM SMITH,
and
MOHAMMED SAAMINU ZUBERU,

a/k/a “Samiu,”

a/k/a “Sammy,”
did knowingly and willfully conduct, control, and direct all or part of a money
transmitting business affecting interstate and foreign commerce in any manner or
degree, which was operated without an appropriate money transmitting license in a
State where such operation is punishable as a misdemeanor or a felony under State
law, whether or not the defendant knew that the operation was required to be
licensed or that the operation was so punishable, and which involved the

transportation and transmission of funds which were derived from a criminal

offense or intended to be used to promote or support unlawful activity.

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In violation of Title 18, United States Code, Sections 1960(a) and 2.
CRIMINAL FORFEITURE
The allegations contained in Counts One and Two of this Indictment
are hereby realleged and incorporated by reference for the purpose of alleging
forfeiture. From their engagement in the violations alleged in Counts One and
Two of this Indictment, the defendants,
SADIA ALHASSAN,
a/k/a “Cindy,”
a/k/a “Ceebby,”
SHAWN WILLIAM SMITH,
and
MOHAMMED SAAMINU ZUBERU,
a/k/a “Samiu,”
a/k/a “Sammy,”

shall forfeit to the United States of America:

(A) pursuant to Title 18, United States Code, Section 981(a)(1)(C) and
Title 28, United States Code, Section 2461(c), upon conviction of an offense in
violation of Title 18, United States Code, Section 1349, any and all of the
defendants’ right, title, and interest in any property, real and personal, constituting
and derived from proceeds traceable to such offense;

(B) pursuant to Title 18, United States Code, Section 982(a)(1), upon

conviction of an offense in violation of Title 18, United States Code, Sections 1957

and 1960, any and all of the defendants’ right, title, and interest in any property,
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real and personal, involved in such offenses, and any property traceable to such

property.

The property to be forfeited includes, but is not limited to, the following:

i. $13,660.00 in U.S. Currency seized from 1874 Nena Hills Drive,

Tallahassee, FL 32304;

ii. $4,357.25 seized from Wells Fargo Bank account ending in 2654 held

in the name of Ridwan Nasir;

iii. $611.08 seized from Wells Fargo Bank account ending in 5713 held

in the name of Saad D. Alhassan and Zakia Sulemana; and

iv. $4,412.52 seized from Truist Bank account ending in 8482 held in the

name of Sadia Alhassan.

If any of the property described above as being subject to forfeiture, as a

result of acts or omissions of the defendants:

i.

cannot be located upon the exercise of due diligence;

has been transferred, sold to, or deposited with a third party;
has been placed beyond the jurisdiction of this Court;

has been substantially diminished in value; or

has been commingled with other property that cannot be

subdivided without difficulty,
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it is the intent of the United States, pursuant to Title 21, United States Code,
Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c),
to seek forfeiture of any other property of said defendant up to the value of the
forfeitable property.

A TRUE BILL:

FOREPERSON

~ JASON R. C LEZ
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TST M,/ pt
Assistant United States Attorney

